 Case 2:07-cr-00173-TS Document 331 Filed 02/03/09 PageID.1002 Page 1 of 5




                IN THE UNITED STATES COURT FOR THE DISTRICT OF UTAH
                                        CENTRAL DIVISION




 UNITED STATES OF AMERICA,
           Plaintiff,                                      MEMORANDUM DECISION AND
                                                           ORDER DENYING MOTION TO
                                                           SEVER


                   vs.


 NICHOLAS F. PECK, et al.,                                 Case No. 2:07-CR-173 TS
           Defendants.




       This matter comes before the Court subsequent to a December 11, 2008, hearing on James1

issues and on Motions to Sever by Defendants Nicholas F. Peck, Abraham J. Elliot, John P.

Guerrero, and Caesar Martinez. At the hearing, the government submitted a proffer of the

information they intended to introduce under Federal Rule of Evidence 801(d)(2)(E). Defendants

were to file all related memoranda by January 15, 2009, and the government was to file their reply

by January 26, 2009. Of the four defendants present at the December 11, 2008, hearing, only

Guerrero submitted a Reply Memorandum in Support of Motion to Sever, on January 26, 2009, to

which the government responded on January 29, 2009. For the reasons discussed below, Guerrero’s

Motion to Sever will be denied.


       1
           United States v. James, 590 F.2d 575 (5th Cir.), cert. denied, 442 U.S. 917 (1979).

                                                   1
 Case 2:07-cr-00173-TS Document 331 Filed 02/03/09 PageID.1003 Page 2 of 5




                                  I. FACTUAL BACKGROUND

       The government alleges a scheme by Defendant Guerrero and co-defendants to steal cars.

Co-defendant Peck would obtain key codes from an unwitting source at a Las Vegas Chevrolet

dealership, who in turn obtained them by using a computer terminal and accessing electronic

information available through the dealership’s network. The key codes were then either sold to

others or used to steal the corresponding vehicles in the Las Vegas and Salt Lake City areas. In

addition to the scheme thus alleged, the government also alleges various crimes committed by co-

defendants related to the scheme, including conspiracy to transport stolen vehicles, possession of

stolen motor vehicles, computer access fraud, wire fraud, conspiracy to distribute a controlled

substance by co-defendant Peck and two others, and possession of a firearm by a co-defendant.

                                           II. DISCUSSION

       Guerrero requests severance primarily on the grounds that he will be prejudiced by the

spillover effect of the accumulation and presentation of evidence against other Defendants.

Specifically, Guerrero argues that the evidence of the drug conspiracy and firearms possession will

unfairly prejudice the jury against him.

       Under Rule 8(b) of the Federal Rules of Criminal Procedure, a single indictment may charge

multiple defendants “if they are alleged to have participated in the same act or transaction, or in the

same series of acts or transactions, constituting an offense or offenses.” However, under Rule 14(a)

“[i]f the joinder of offenses or defendants in an indictment, an information, or a consolidation for

trial appears to prejudice a defendant or the government, the court may order separate trials of

counts, sever the defendants’ trials, or provide any other relief that justice requires.”




                                                   2
 Case 2:07-cr-00173-TS Document 331 Filed 02/03/09 PageID.1004 Page 3 of 5




       The Tenth Circuit follows the general rule that individuals charged together should be tried

together.2 Moreover, “in a conspiracy trial it is preferred that persons charged together be tried

together.”3 A defendant wishing to obtain severance must show actual prejudice at trial will result

from failure to sever the trials.4 However, “[n]either a mere allegation that defendant would have

a better chance of acquittal in a separate trial, nor a complaint of the ‘spillover effect’ from the

evidence that was overwhelming or more damaging against the codefendant than that against the

moving party is sufficient to warrant severance.”5 “Indeed, absent a showing of clear prejudice, a

joint trial of the defendants who are charged with a single conspiracy in the same indictment is

favored where proof of the charge is predicated upon the same evidence and alleged acts.”6

       Here, the Court finds that Guerrero has failed to make the required showing of clear prejudice

required to sever his trial or to sever the drug and firearms counts. The government has met its

burden for joinder under Rule 8 of the Federal Rules of Criminal Procedure by alleging that Guerrero

and co-defendants “participated in the same act or transaction,”7 and that the Counts in the

indictment “constitute parts of a common scheme or plan.”8




       2
           See United States v. Rinke, 778 F.2d 581, 590 (10th Cir. 1985).
       3
           United States v. Scott, 37 F.3d 1564, 1576 (10th Cir. 1994).
       4
           United States v. Hack, 782 F.2d 862, 870 (10th Cir. 1986).
       5
           Id. (internal citation omitted).
       6
           Id. at 871.
       7
           Fed. R. Crim. Pro. 8(b).
       8
           Fed. R. Crim. Pro. 8(a).

                                                   3
 Case 2:07-cr-00173-TS Document 331 Filed 02/03/09 PageID.1005 Page 4 of 5




       Guerrero argues, however, that the government intends to introduce, in connection with the

drug counts, evidence of “highly opprobrious and frightening crimes.” Guerrero also argues that the

government has no evidence that he was aware of or participated in any drug activity or possession

of firearms. Even assuming arguendo that Guerrero accurately represents the state of the evidence,

that is insufficient, alone, to warrant severance. Guerrero must make a showing of clear prejudice,

and Guerrero has failed to do so.

       In United States v. Jones,9 the Tenth Circuit addressed whether denial of a motion for

severance on the grounds that drug and firearm evidence would prejudice the defendant’s defense

“by way of a spillover effect.”10 The Tenth Circuit concluded that the district court did not commit

plain error by denying severance because the district court gave a limiting instruction and because

evidence of the drug and firearms violations “would not have helped the government establish the

elements of bank fraud and conspiracy beyond a reasonable doubt.”11

       Guerrero argues, however, that his case is more similar to United States v. Baker,12 where the

Eighth Circuit required severance. Guerrero claims that the Eighth Circuit, in Baker, declared that

spillover effect becomes prejudicial when it allows the introduction of evidence against co-

defendants that would be inadmissible against the movant. This misstates the holding of the Eighth

Circuit, which stated that it was the admission of co-conspirator statements when the defendant was

not charged with a conspiracy, which led to the undue prejudice. Guerrero is charged with



       9
        530 F.3d 1292 (10th Cir. 2008).
       10
           Id. at 1301-02.
       11
           Id. at 1303.
       12
           98 F.3d 330 (8th Cir. 1996).

                                                 4
 Case 2:07-cr-00173-TS Document 331 Filed 02/03/09 PageID.1006 Page 5 of 5




conspiracy, and has not successfully challenged the admissibility of any of the James evidence

proffered by the government in the December 11, 2008, hearing.

       The Court finds that a limiting instruction will be sufficient to cure any unfair prejudice

caused by the introduction of evidence against co-defendants relative to the drug and firearms

charges. The Court also finds that any such evidence will not help the government prove its wire

fraud and conspiracy claims against Guerrero beyond a reasonable doubt.

                                      III. CONCLUSION

       It is therefore

       ORDERED that Defendant Guerrero’s Motion to Sever Defendant’s Trial from Co-

Defendant’s Trial and/or to Sever Counts (Docket No. 265) is DENIED. It is further

       ORDERED that the Motion to Sever filed by Defendants Nicholas F. Peck, Abraham J.

Elliot, and Caesar Martinez (Docket No. 292) is DENIED as moot. It is further

       ORDERED that the Motion for James Hearing, filed by Defendant Caesar Martinez (Docket

No. 291) is DENIED as moot.

       DATED February 3, 2009.

                                            BY THE COURT:



                                            _____________________________________
                                            TED STEWART
                                            United States District Judge




                                                5
